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                                                         Exhibit A to the Complaint
Location: Medford, NJ                                                                               IP Address: 173.72.56.55
Total Works Infringed: 28                                                                           ISP: Verizon Fios
 Work      Hashes                                                                UTC        Site           Published     Registered   Registration
 1         Info Hash:                                                            03-20-     Slayed         09-29-2021    11-01-2021   PA0002326409
           5A1E289500A6DF2F3F634EEDFBEC545873519FA8                              2022
           File Hash:                                                            19:31:43
           F6919E97F641883A1790FAD4233ABF3A4B534EDDBD19637D65C182F7737EDC5A
 2         Info Hash:                                                            03-07-     Slayed         08-05-2021    09-08-2021   PA0002316094
           FCC3B3E9F148545F77601B1A8854C8790632DDAE                              2022
           File Hash:                                                            00:41:17
           4100314100052DA1C44C13BD1E8277B98E8A735D43A28DB22194B4D6B158B0F8
 3         Info Hash:                                                            03-05-     Blacked        02-09-2018    03-02-2018   PA0002104745
           AE8F568547BC96C68FA28D2D4362CBA7A675DEC1                              2022
           File Hash:                                                            22:09:52
           06C8AE9933F498B5AD5153F024874D6F72474BA48A86EF032E034C1A2BFC7AB9
 4         Info Hash:                                                            03-03-     Vixen          07-23-2019    08-27-2019   PA0002213247
           58F81BD82B771B5D4AF55AE736974F12910D7D85                              2022
           File Hash:                                                            03:25:38
           E8B682B634E26BA6078640680905CC29FD658C81DAF6BCB173C4EAEB46256D1A
 5         Info Hash:                                                            03-02-     Vixen          10-31-2019    11-15-2019   PA0002211917
           01490AF82826C998DD1DFD20DF7DCF440CC694B0                              2022
           File Hash:                                                            23:26:20
           9F4FBB80286395439601706E3DA31EBAF22DA7CEEA8AEC308BF6C7743EE4A6B2
 6         Info Hash:                                                            02-22-     Vixen          03-05-2017    05-25-2017   PA0002049788
           886C165531255F8392293B0B77B178B2D17B68AA                              2022
           File Hash:                                                            01:22:26
           B49B73377A62346E9963D0EE8A81750272F5071007258C42DFD4B06E5D2DAB2F
 7         Info Hash:                                                            02-22-     Tushy          04-06-2018    06-19-2018   PA0002126674
           77B569973FD9ADD5E32D63D0B3141B877DC931D0                              2022
           File Hash:                                                            01:11:23
           38D8316AACC577024FF542613BED1C15E3AD031794F50A269F2966E155AAD9B3
 8         Info Hash:                                                            02-22-     Vixen          10-26-2017    12-04-2017   PA0002098029
           FCD99D722E3C095513A32CD01038752B46784E75                              2022
           File Hash:                                                            01:11:13
           20D25496654ED4B3AADF295CB4DD30D7E1D37A8A9341463E0930D8FF739BD464
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         02-22-     Vixen     04-04-2019   04-29-2019   PA0002169968
       F0FEEA90892CB91054E356C88374094E94FCE0E2                           2022
       File Hash:                                                         01:09:45
       0744178676A3732BA8B64879714A6EA7C879CB6AF8C068A72BF1F57E3C552970
10     Info Hash:                                                         01-02-     Vixen     11-26-2021   01-07-2022   PA0002337919
       DFCEE31E951BFF64BB0860D741932F779AB7AE1B                           2022
       File Hash:                                                         01:41:16
       D5C5A301DFE183D8EEDEF3D7D38ECCDBC1452BB66BCF821B2F461965504EF702
11     Info Hash:                                                         11-21-     Blacked   10-30-2021   11-11-2021   PA0002321300
       45F5ED37F13264A5DD4DC3C6385B85C45C7DE859                           2021
       File Hash:                                                         23:26:19
       E068D82E5B6E5559076020E3AD1778881D46C7D7F5659573B931633E55250E95
12     Info Hash:                                                         11-07-     Vixen     12-25-2018   01-22-2019   PA0002147901
       60E01B17C52361EA60FE338AE47EAB02B143C011                           2021
       File Hash:                                                         02:11:41
       FBDAD33C37DD92DBE4058EAD37F03C582CD89A783E6D8F7CF55D192E6D50A558
13     Info Hash:                                                         10-29-     Vixen     07-24-2020   08-03-2020   PA0002259166
       EFAD122F1D9BDF0A8204C59E2FEBACA47B03995C                           2021
       File Hash:                                                         23:42:51
       7493FF96BEB8651C35B9EBC22B5C2CB17F97C4313B3F0EFD11B3B316648CCB86
14     Info Hash:                                                         10-09-     Blacked   10-22-2019   11-05-2019   PA0002210294
       6D8AC7C2858A1558F0BDAE4CEC9A67FA99EB0AB3                           2021
       File Hash:                                                         04:45:11
       C5E12DB31494BDCBD4861BF80DEBCCCB5F8F26425D573D1FC639A94AD4CED84A
15     Info Hash:                                                         10-09-     Blacked   09-17-2018   10-16-2018   PA0002127778
       A46145E0FD10946ED6395AF7401551391ED902CA                           2021
       File Hash:                                                         01:41:01
       1B8A7F105850D5E825E970EEABB87CB31F97C78ADDAEF7AF9C38C2373C74068A
16     Info Hash:                                                         10-09-     Blacked   11-18-2018   12-10-2018   PA0002146476
       3F9D9C6A6AB57620BA86CBC299782956D2C15A3A                           2021       Raw
       File Hash:                                                         01:40:29
       DA6F6CA058C213C8E561340115E904549CB23BDB4AB83FBDDEB8040974669882
17     Info Hash:                                                         08-15-     Vixen     06-19-2020   06-25-2020   PA0002256361
       73836E8C65A311E14896A1AEA347526ACEE06F14                           2021
       File Hash:                                                         05:50:38
       C6ACD61B98AF9D709C5A5F9945834C6D92683363D23DBB59B43D5067F8039DB1
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         08-11-     Blacked   06-26-2021   07-08-2021   PA0002300662
       DF55A7399DCF2BE0ABA0569AE3468DC477F13662                           2021
       File Hash:                                                         00:56:03
       487E63428A954158BEC6847DF973AB861CA92DB61080ED9AF2A6DAC653D84C24
19     Info Hash:                                                         08-11-     Blacked   06-04-2017   07-07-2017   PA0002070826
       3153AF85F9095D5335C1FAAAB86823E10FBA86F8                           2021
       File Hash:                                                         00:56:00
       408AE74EDD93030707ECE9AFEF542673DACD449819A589F629CAAF1DD455928B
20     Info Hash:                                                         08-11-     Blacked   02-14-2018   03-02-2018   PA0002104757
       A5D6B24638A8DF80BD201C674E2D5BC8B61099C5                           2021
       File Hash:                                                         00:55:51
       BFB0BC40896C143B5E4ECF12E87AA1BD26D00298A592734E6C7BC60918F1FE89
21     Info Hash:                                                         07-25-     Blacked   05-04-2020   05-19-2020   PA0002241475
       EA6DAB1E1DDFCB970BDADB6AFE343F3AA5E26C6B                           2021       Raw
       File Hash:                                                         03:27:37
       C4640358D223F38350D456BFB2A177262DF1B8526A20B2149B5BA8DB40F8B7A7
22     Info Hash:                                                         07-24-     Blacked   12-31-2018   01-22-2019   PA0002147686
       0DEB934FF7CF07C6337C6CEDE532EBA8F101318D                           2021
       File Hash:                                                         20:38:21
       AA09EBD0C9D8E4F3C56E2E7CCBCADA8EDA91DBFA74FCA014FAAC5E639B6CC729
23     Info Hash:                                                         07-24-     Blacked   07-24-2021   09-21-2021   PA0002312682
       F5D53D9389551A23353605AADFD5EDCE56226030                           2021
       File Hash:                                                         20:29:45
       6136282252ED7D5CBB1E1BB9D43E9D197D4DBB1E9E92410EC70A8B2DDA23D435
24     Info Hash:                                                         07-01-     Tushy     07-05-2017   07-06-2017   PA0002041555
       6DD9FB9FFA659B5E28FF86F9661807F6A241148A                           2021
       File Hash:                                                         05:14:45
       6E9DD0DDEEF832F858196C80422A8223C5A5BCDC7DDF6A25E98BA63C8AA01A6D
25     Info Hash:                                                         06-27-     Blacked   02-26-2019   03-31-2019   PA0002163980
       D944CAA9B59293A71385E5B81B800565E494067A                           2021       Raw
       File Hash:                                                         19:35:06
       B026DC67E308DDA63D101C611E3990FE33D79A01D1EC870E92F52A11AF96D941
26     Info Hash:                                                         02-28-     Blacked   01-25-2021   02-09-2021   PA0002276145
       7E669E0F9DEFB75FFEEFDEC805FA3497B430C15A                           2021       Raw
       File Hash:                                                         00:30:52
       4768B999E19A9764FA77FB9DDD817FF2EB77D61D8D4F6F350DC00B29B2E49D61
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         02-28-     Tushy     08-14-2017   08-17-2017   PA0002048391
       F039D8B5C1F43F06A245B62C82E1006E7763F977                           2021
       File Hash:                                                         00:07:27
       BDEE73C50494D695511326E9C2A76E928BF0C8B2B62F659A40A185D77826226D
28     Info Hash:                                                         10-23-     Blacked   03-15-2020   04-15-2020   PA0002246109
       6925967B48B6F7E696BF1524724AFFDCFEBAEBC5                           2020
       File Hash:                                                         22:26:08
       4C2E8EFCDCBF178E0B24C671B8193416C6269EA73D8C495C291BA3F911AB4C6F
